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13

14                             UNITED STATES DISTRICT COURT

15                          NORTHERN DISTRICT OF CALIFORNIA

16                                 SAN FRANCISCO DIVISION

17 In re Ex Parte Application of                  CASE NO.: 3:18-mc-80132-JSC
   PALANTIR TECHNOLOGIES INC.,
18                                                DECLARATION OF STEPHEN L.
           Applicant,                             WOHLGEMUTH IN SUPPORT OF
19                                                MARC L. ABRAMOWITZ’S MOTION
   For an Order Pursuant to 28 U.S.C. § 1782 to   FOR LEAVE TO FILE SUR-REPLY TO
20 Obtain Discovery from MARC L.                  PALANTIR’S EX PARTE
   ABRAMOWITZ for Use in Foreign                  APPLICATION FOR AN ORDER
21 Proceedings.                                   PURSUANT TO 28 U.S.C. § 1782
                                                  GRANTING LEAVE TO OBTAIN
22                                                DISCOVERY FOR USE IN FOREIGN
                                                  PROCEEDINGS
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     WOHLGEMUTH DECL. ISO MOT. FOR LEAVE TO FILE SUR-REPLY             3:18-MC-80132-JSC
        Case 3:18-mc-80132-JSC Document 32-1 Filed 09/28/18 Page 2 of 3



 1         I, Stephen L. Wohlgemuth, hereby declare as follows:
 2         1.      I am an attorney at the law firm of Williams & Connolly LLP, which is counsel of
 3 record for Marc L. Abramowitz (“Abramowitz”) in the above-captioned matter. I make this

 4 declaration based on my own personal knowledge, and if called upon to do so, could and would

 5 testify competently thereto. I make this declaration in support of Abramowitz’s Motion for Leave

 6 to File a Sur-Reply to Palantir Technologies Inc.’s (“Palantir”) Ex Parte Application for an Order

 7 Pursuant to 28 U.S.C. § 1782 Granting Leave to Obtain Discovery for Use in Foreign Proceedings.

 8         2.      I have corresponded with Palantir’s counsel of record in this action to ask if Palantir
 9 would agree to Abramowitz’s request for leave to file a sur-reply to Palantir’s ex parte application
10 for § 1782 discovery. Counsel for Palantir communicated that Palantir does not agree to

11 Abramowitz’s request. A true and correct copy of the correspondence between counsel for Palantir

12 and me regarding Abramowitz’s request to file a sur-reply is attached hereto as Exhibit J.

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     WOHLGEMUTH DECL. ISO MOT. FOR LEAVE TO FILE SUR-REPLY                             3:18-MC-80132-JSC
        Case 3:18-mc-80132-JSC Document 32-1 Filed 09/28/18 Page 3 of 3



 1         I declare under penalty of perjury under the laws of the United States of America that the
 2 foregoing is true and correct.
 3
 4         Executed on September 28, 2018 in Washington, D.C.
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 6                                                     Sjtephen L. Wohlgeifluth
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     WOHLGEMUTH DECL. ISO MOT. FOR LEAVE TO FILE SUR-REPLY                           3:18-MC-80132-JSC
